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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                        MIAMI DIVISION

                              CASE NO. _______________________



 ROSALIND STEPTOE-JACKSON,

        Plaintiff,
 vs.

 PARADISE CRUISE LINE OPERATOR LTD., INC.
 d/b/a BAHAMAS PARADISE CRUISE LINE

       Defendant.
 _______________________________/


                                           COMPLAINT

        COMES NOW the Plaintiff, ROSALIND STEPTOE-JACKSON, by and through the

 undersigned counsel, and hereby allege the following on information and belief:

                     JURISDICTION AND IDENTIFICATION OF PARTIES

        1.      At all times material hereto, the Plaintiff, ROSALIND STEPTOE-JACKSON was

 a citizen of the United States and is a resident of Prince George’s County, Maryland, and files

 this Complaint for Damages in an amount in excess of $75,000, exclusive of any fees and court

 costs. This Honorable Court possesses jurisdiction over the instant matter pursuant to the issued

 ticket by Defendant containing a venue clause which requires that all disputes and matters arising

 out of an in connection with cruise and travel associated with the ticket be litigated in the United

 States District Court for the Southern District of Florida, in Miami and there is complete

 diversity between the parties, 28 United States District Court, Section 1332.
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        2.      At all times material hereto, the Defendant, PARADISE CRUISE LINE

 OPERATOR LTD., INC. d/b/a BAHAMAS PARADISE CRUISE LINES (hereinafter referred

 to as BAHAMAS PARADISE), was and is a business entity engaged in the shipping and

 passenger cruise business.

        3.      At all times material hereto, the Defendant, BAHAMAS PARADISE, was and is

 a corporation engaged in the shipping and passenger cruise business operated by and/or for the

 financial interests and/or benefits of the United States citizens. BAHAMAS PARADISE

 maintains a fleet of cruise ships that provide travel and related activities in international waters

 and at seaports in the United States of America and around the world. BAHAMAS PARADISE

 provides its passengers with travel packages, which include but are not limited to room and

 board, entertainment, and cruise-sponsored shore excursions at selected ports of call.

        4.      At all times material hereto, the Defendant, BAHAMAS PARADISE, owned,

 operated, and managed the vessel Grand Celebration.

                       FACTS GIVING RISE TO CAUSES OF ACTION

        5.      At all times material hereto, the Plaintiff, ROSALIND STEPTOE-JACKSON,

 purchased a BAHAMAS PARADISE ticket for a vacation on BAHAMAS PARADISE’S cruise

 ship, Grand Celebration.

        6.      At all times material hereto, ROSALIND STEPTOE-JACKSON was lawfully and

 legally aboard the Grand Celebration as an invitee and paying passenger with the actual and/or

 constructive consent of BAHAMAS PARADISE to be physically present aboard such vessel.

        7.      On or about July 28, 2019, the Plaintiff, ROSALIND STEPTOE-JACKSON,

 aboard the Grand Celebration, Plaintiff was hit on her head when she fell from a loose bunk bed

 ladder in her stateroom that was unreasonably dangerous by not being bolted correctly and
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 otherwise fastened by the vessel’s steward. No warnings were given of the condition, causing

 Plaintiff to sustain permanent injuries.

         8.     At all times material hereto, the Defendant should have been aware of the dangers

 of a loose bunk bed ladder presented and accordingly should have taken any and all

 precautionary measures available to ensure an invitee, like Plaintiff, on the ship would not be

 injured by such dangerous condition. Defendant, through its agents and/or employees failed to

 take any such precautionary measures and instead left this condition in place without any

 warning signs of the danger presented to such invitees.

         9.     Due to Defendant BAHAMAS PARADISE’S negligence and failure to use

 reasonable care in maintaining the premises in a reasonably safe condition, the Plaintiff,

 ROSALIND STEPTOE-JACKSON, sustained severe injuries to her head.

                                       COUNT I
                           NEGLIGENCE TO BAHAMAS PARADISE

         10. The Plaintiff, ROSALIND STEPTOE-JACKSON, hereby adopts and realleges each

 and every allegation in paragraphs one (1) through nine (9), above.

         11.    At all times material hereto, Defendant BAHAMAS PARADISE owed to

 Plaintiff,



  ROSALIND STEPTOE-JACKSON, an invitee on the ship’s premises, the duty to use

 reasonable care in keeping and maintaining the premises in a reasonably safe condition.

         12.    Additionally, at all times material hereto, the Defendant, BAHAMAS

 PARADISE, owed to the Plaintiff, ROSALIND STEPTOE-JACKSON, the duty to give her

 warning of concealed perils which are known or should be known to Defendant, and which were

 unknown to Plaintiff and could not be discovered by her through the exercise of due care.
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         13.     The Defendant, BAHAMAS PARADISE, breached its duty to Plaintiff in one or

 more of the following ways:

                 a.      Failing to use reasonable care in maintaining the premises in a reasonably
                         safe condition. Specifically, the loose bunk bed ladder in the stateroom
                         which created an unsafe and dangerous condition unbeknownst to visitors;

                 b.      Failing to give Plaintiff warning that the loose bunk bed ladder in the
                         stateroom created a dangerous condition, and that extra caution should be
                         taken in that particular area, given the hidden dangers;

                 c.      Failing to maintain the premises in a reasonably safe condition for invitees
                         and Plaintiff. Specifically, upon learning of the loose bunk bed ladder in
                         the stateroom, BAHAMAS PARADISE’S agents and employees failed to
                         take any remedial action to rectify the dangerous condition of the subject
                         area;

                 d.      Failing to properly train its agents and/or employees to keep the premises
                         in a reasonably safe condition for invitees and specifically, for the
                         Plaintiff;

                 e.      Failing to properly monitor its agents and/or employees so as to
                         reasonably assure that they were maintaining the premises in a reasonably
                         safe condition for all invitees, and specifically, the Plaintiff;

                 f.      Failing to implement and train its agents and/or employees in policies and
                         procedures designed to reasonably assure the safety of invitees on the
                         premises;

                 g.      Failing to enforce the policies and procedures designed to reasonably
                         assure the safety of invitees on the premises,

                 h.      Providing negligent maintenance to the area or to the premises; and

                 i.      Other acts of negligence to be determined through discovery.

         14.     The above-described negligent acts and/or omissions are the direct and proximate

 cause of ROSALIND STEPTOE-JACKSON’ injuries.

         15.     The Defendant created a dangerous condition on the subject ship and allowed the

 dangerous condition to exist thereby causing an accident on the date referenced above in which the

 Plaintiff was severely injured.
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        16.     The Defendant either (a) created the dangerous condition, through its agents or

 employees; (b) had actual knowledge of the dangerous condition; and/or (c) had constructive

 knowledge of the dangerous condition.

        17.     The Defendant had constructive knowledge of the dangerous condition by, inter alia,

 (a) the length of time the dangerous condition existed; (b) the size and/or nature of the dangerous

 condition; and/or (c) the fact that the dangerous condition, a similar dangerous condition, or the

 cause of the dangerous condition was repetitive, continuous, ongoing, recurring, or occurring with

 some regularity. Thus, the dangerous condition was reasonably foreseeable and in the exercise of

 reasonable care the Defendant should have known about it.

        18. In the alternative, notice to the Defendant is not required because the Defendant (a)

 engaged in and was guilty of negligent maintenance; and/or (b) engaged in and was guilty of

 negligent methods of operations.

        19. The negligent condition was created by the Defendant; and was known to the

 Defendant; and had existed for a sufficient length of time so that Defendant should have known

 of it; and was a continuous or repetitive problem thus giving notice to the Defendant.

        20.     The negligent condition occurred with sufficient regularity so as to be foreseeable by

 the Defendant and should have been foreseeable by the Defendant.

                        CLAIM OF ROSALIND STEPTOE-JACKSON

        21.     The Plaintiff, ROSALIND STEPTOE-JACKSON, adopts and realleges all prior

 material paragraphs, and further states:

        22.     As a direct and proximate result of the above-described negligent acts and/or

 omissions, the Plaintiff, ROSALIND STEPTOE-JACKSON, makes the following claims for

 damages against BAHAMAS PARADISE:
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                a.       Permanent bodily injury;

                b.       Aggravation of a pre-existing condition;

                c.       Pain and suffering;

                d.       Permanent disability;

                e.       Permanent disfigurement;

                f.       Mental anguish;

                g.       Loss of earnings;

                h.       Loss of earning capacity;

                i.       Medical, nursing, and rehabilitative expenses;

                j.       Loss of capacity for the enjoyment of life; and

                k.       All other damages allowed by law.

        23.          These losses are either permanent or continuing and Plaintiff, ROSALIND

 STEPTOE-JACKSON will suffer the losses in the future.



        WHEREFORE, the Plaintiff, ROSALIND STEPTOE-JACKSON, demands judgment

 against the Defendant, BAHAMAS PARADISE CORPORATION d/b/a BAHAMAS

 PARADISE CRUISE LINES, for the full value of her losses together with costs of suit to the

 extent allowable by law.



                                   DEMAND FOR JURY TRIAL

        The Plaintiffs hereby demand Trial by Jury of any issue triable of right by a jury.

 Signed this 13th day of July, 2020.
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                              Respectfully Submitted,

                                     By: /s/ Jack Paris    _
                                             JACK PARIS, ESQ.
                                             Florida Bar No.: 984310


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